USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-13 filed 04/03/20 page 1 of 7




      EXHIBIT 11
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-13 filed 04/03/20 page 2 of 7
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-13 filed 04/03/20 page 3 of 7
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-13 filed 04/03/20 page 4 of 7
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-13 filed 04/03/20 page 5 of 7
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-13 filed 04/03/20 page 6 of 7
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-13 filed 04/03/20 page 7 of 7
